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 7

 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                   CR No.    2:21-cr-00540-SB
11                Plaintiff,                     I N F O R M A T I O N

12                v.                             [18 U.S.C. § 666(a)(1)(B): Bribery
                                                 Concerning Programs Receiving
13   PAUL O. PARADIS,                            Federal Funds; 18 U.S.C.
                                                 § 981(a)(1)(C), and 28 U.S.C.
14                Defendant.                     § 2461(c): Criminal Forfeiture]
15
             The United States Attorney charges:
16
                                  INTRODUCTORY ALLEGATIONS
17
             At times relevant to this Information:
18
     A.      RELEVANT PERSONS AND ENTITIES
19
             1.    The Los Angeles Department of Water and Power (“LADWP”) was
20
     the largest municipal utility in the United States, and provided
21
     water and electricity services to approximately 4 million residents
22
     in and around the City of Los Angeles (the “City”).              LADWP was
23
     governed by a five-member Board of Commissioners (the “LADWP Board”).
24
             2.    The Los Angeles City Attorney's Office (“City Attorney’s
25
     Office”) wrote every municipal law for the City, advised the Mayor,
26
     the City Council, and all City departments and commissions, defended
27
     the City in litigation, brought forth lawsuits on behalf of the
28
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 1   people of the City, and prosecuted misdemeanor crimes.              The City

 2   Attorney’s Office was an agency of the City of Los Angeles, which

 3   received more than $10,000 per year in funds from the United States,

 4   including for the years 2015 through 2017, in the form of grants,

 5   contracts, subsidies, loans, guarantees, insurance, and other forms

 6   of federal assistance.

 7           3.    Relevant attorneys and personnel in private practice

 8   included the following:

 9                 a.     Defendant PAUL O. PARADIS was an attorney licensed in

10   New York.

11                 b.     Paradis Law Partner was an attorney licensed in New

12   York and the law partner of defendant PARADIS.

13                 c.     Paul Kiesel (“Kiesel”) was an attorney licensed in

14   California.        Kiesel owned and operated a law firm (the “Kiesel Law

15   Firm”) based in California that served clients both within and

16   outside the State.

17                 d.     Ohio Attorney was an attorney licensed in Ohio.

18                 e.     California Attorney was an attorney licensed in

19   California.

20           4.    LADWP General Manager was the General Manager of LADWP from

21   on or about September 6, 2016, until on or about July 23, 2019.

22   B.      THE KICKBACK SCHEME

23           1.    The LADWP Billing Debacle
24           5.    In 2013, LADWP implemented a new billing system, which it
25   had procured from an outside vendor, PricewaterhouseCoopers (“PwC”).
26   After LADWP implemented the new billing system, hundreds of thousands
27   of LADWP customers (“ratepayers”) received massively inflated and
28

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 1   otherwise inaccurate utility bills, including bills that undercharged

 2   ratepayers to the financial detriment of LADWP.

 3        6.    By in or around December 2014, the City and LADWP were

 4   facing multiple class action lawsuits (collectively, the “class

 5   action lawsuits”) by ratepayers alleging various claims based on

 6   LADWP’s faulty billing system.

 7        7.    The City Attorney’s Office represented the City and LADWP

 8   in those class action lawsuits.       The City Attorney’s Office was also

 9   aided by attorneys from an outside law firm (“Class Action Counsel”).

10        8.    On or about December 16, 2014, the City Attorney’s Office

11   retained defendant PARADIS and Kiesel as Special Counsel to represent

12   the City in a contemplated lawsuit against PwC.

13        9.    Under the terms of the Special Counsel contract, defendant

14   PARADIS and Kiesel would act as agents for the City and were to

15   render their services on a contingency-fee basis, meaning that they

16   would not be paid until and unless the City prevailed in its lawsuit

17   against PwC, at which time they would jointly receive approximately

18   19.9% of damages awarded to the City.        The terms of the Special

19   Counsel contract specified that defendant PARADIS and Kiesel would

20   bear all costs for the City’s lawsuit against PwC, to be reimbursed

21   only upon a successful result in the lawsuit.

22        10.   The City alleged that PwC had caused hundreds of millions

23   of dollars in damage.     Defendant PARADIS’s and Kiesel’s 19.9% share

24   of such a recovery would have totaled upwards of $39,000,000.

25        11.   At the time that defendant PARADIS began representing the

26   City as Special Counsel in or around December 2014, he also

27   represented an LADWP ratepayer, Antwon Jones, who had a claim arising

28   from LADWP billing overcharges.       By in or around January 2015,

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 1   members of the City Attorney’s Office were aware that defendant

 2   PARADIS was simultaneously representing both the City and Jones.

 3        12.    In or around January and February of 2015, the City

 4   Attorney’s Office pursued a strategy whereby defendant PARADIS and

 5   Kiesel would represent both the City and Jones in parallel lawsuits

 6   against PwC (the “parallel litigation strategy”).          The parallel

 7   litigation strategy also entailed convincing counsel for the

 8   plaintiffs in the existing class action lawsuits against the City to

 9   dismiss their claims and instead join the City in coordinated

10   litigation against PwC.

11        13.    By on or about February 23, 2015, members of the City

12   Attorney’s Office decided not to pursue the parallel litigation

13   strategy.

14        14.    On or about February 23, 2015, at least one senior member

15   of the City Attorney’s Office met with defendant PARADIS, Kiesel, and

16   Paradis Law Partner to discuss how to proceed in the wake of the

17   abandoned parallel litigation strategy.         In lieu of the parallel

18   litigation strategy, defendant PARADIS and Kiesel were authorized and

19   directed to find counsel that would be friendly to the City to

20   supposedly represent Jones in a class action case against the City.

21   This was at times referred to as the “white knight” strategy, because

22   Jones would be (unwittingly) used to save the City from the existing

23   lawsuits.   Pursuant to the white knight strategy, which was known to

24   multiple members of the City Attorney’s Office by late March of 2015,

25   the forthcoming Jones v. City class action would be used as a vehicle

26   to settle all existing LADWP-billing-related claims against the City

27   on the City’s desired terms.

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 1        15.   Soon thereafter, pursuant to the agreed-upon white knight

 2   strategy, defendant PARADIS recruited Ohio Attorney to supposedly

 3   represent Jones in a lawsuit against the City.          Defendant PARADIS

 4   told Ohio Attorney that the City wanted the lawsuit to be “pre-

 5   settled” on the City’s desired terms.        Defendant PARADIS and Ohio

 6   Attorney agreed that in exchange for doing all or most of Ohio

 7   Attorney’s substantive work on the case, defendant PARADIS would

 8   receive twenty percent of Ohio Attorney’s fees in the case as a

 9   secret kickback.

10        16.   Because of state court rules requiring that a party to a

11   lawsuit in the State of California have at least one lawyer who is

12   admitted to the California bar, in or around early March of 2015,

13   Kiesel recruited California Attorney to function as local counsel

14   supposedly representing Jones.

15        2.    The City’s Affirmative Lawsuit Against PwC

16        17.   On March 6, 2015, the City filed a civil lawsuit against

17   PwC (“City v. PwC”), which generally alleged that PwC was responsible

18   for LADWP’s billing debacle.       Defendant PARADIS and Kiesel

19   represented the City in that action for approximately four years,

20   until on or about March 6, 2019.

21        18.   Because defendant PARADIS and Kiesel were operating as

22   Special Counsel for the City, the City Attorney’s Office had a legal

23   and ethical responsibility to supervise the Special Counsel and to

24   maintain ultimate control over the litigation of City v. PwC.

25   Accordingly, the Special Counsel contract provided that the City

26   Attorney’s Office would “retain final authority over all material

27   aspects” of dispute resolution and litigation.

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 1        3.    The Collusive Class Action Lawsuit

 2        19.   In or around March of 2015, defendant PARADIS, while

 3   serving as Special Counsel and pursuant to the agreed-upon white

 4   knight strategy, used nonpublic information provided to him by

 5   members of the City Attorney’s Office and LADWP to draft a detailed

 6   complaint for a class action lawsuit against the City with Jones as

 7   the named class representative (“Jones v. City”).

 8        20.   On or about March 26, 2015, defendant PARADIS provided the

 9   draft Jones v. City complaint to Ohio Attorney for filing.

10        21.   On April 1, 2015, as expected by multiple members of the

11   City Attorney’s Office, Ohio Attorney filed the Jones v. City

12   complaint that defendant PARADIS had drafted.

13        22.   On or about April 8, 2015, members of the City Attorney’s

14   Office met with Ohio Attorney to discuss settlement terms that would

15   enable Jones v. City to be used as the vehicle to globally settle all

16   of the LADWP billing claims against the City.

17        23.   Between on or about June 11, 2015, and on or about July 31,

18   2015, defendant PARADIS and others on behalf of the City participated

19   in four confidential mediation sessions with Ohio Attorney.            The

20   other class action plaintiffs were excluded from these sessions.             At

21   the close of the final session, the mediator issued a proposal that

22   would cap plaintiff attorneys’ fees at $13,000,000.

23        24.   On August 1, 2015, the City’s Class Action Counsel sent an

24   email to members of the City Attorney’s Office detailing Class Action

25   Counsel’s many reasons for believing that the $13,000,000 attorney

26   fee proposal was unjustifiably high.        The enumerated reasons included

27   that Ohio Attorney had done “little demonstrative work to advance the

28   interests of the class.”

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 1        25.    On or about August 1, 2015, a senior member of the City

 2   Attorney’s Office endorsed Class Action Counsel’s objections to the

 3   excessive attorneys’ fees, stating that Class Action Counsel had

 4   “superbly summarize[d] the many issues” with the attorneys’ fee

 5   proposal.

 6        26.    Notwithstanding the numerous concerns that were raised by

 7   the City’s Class Action Counsel and disputed by no one, on or about

 8   August 20, 2015 —— less than three weeks later —— the City and Ohio

 9   Attorney filed a stipulated agreement that would provisionally

10   resolve all claims against the City related to the LADWP billing

11   debacle and accept the $13,000,000 cap on plaintiff attorneys’ fees.

12        27.    On or about October 31, 2016, defendant PARADIS and others

13   on behalf of the City attended another mediation session with Ohio

14   Attorney.   The parties agreed to revise the August 20, 2015

15   stipulated agreement, including by raising the cap on plaintiff

16   attorneys’ fees to approximately $19,000,000.

17        28.    On or about July 20, 2017, the Los Angeles County Superior

18   Court judge overseeing the class actions issued a final approval of

19   an approximately $67,000,000 settlement agreement in Jones v. City,

20   including approximately $19,000,000 in plaintiff attorneys’ fees.

21        29.    On or about July 28, 2017, pursuant to the settlement

22   agreement, the City sent a check to Ohio Attorney in the amount of

23   approximately $19,241,003.      After disbursing some of those funds to

24   California Attorney and some to attorneys for other class plaintiffs

25   in accordance with the terms of the settlement agreement, Ohio

26   Attorney and his law firm retained approximately $10,300,000 in

27   attorney fees.

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 1           30.   Pursuant to his prior agreement to pay defendant PARADIS

 2   twenty percent of his Jones v. City earnings, Ohio Attorney secretly

 3   paid $2,175,000 to defendant PARADIS.           This kickback, which was

 4   disguised as a real estate investment, was funneled through shell

 5   companies that defendant PARADIS and Ohio Attorney had set up

 6   exclusively for the purpose of transmitting and concealing the

 7   kickback.

 8   C.      THE AVENTADOR CONTRACT BRIBERY SCHEME

 9           1.    Defendant PARADIS Contracts With LADWP For Technical
                   Services Related to the Billing Litigation
10
             31.   On or about October 19, 2015, the LADWP Board awarded a
11
     one-year, approximately $1,304,090 no-bid contract to defendant
12
     PARADIS’s law firm, the Paradis Law Group, PLLC (“PLG”), to provide
13
     project management services in connection with LADWP’s billing system
14
     remediation.
15
             32.   On or about May 23, 2016, the LADWP Board extended PLG’s
16
     project management services contract for another year and increased
17
     the value of the contract by approximately $4,725,675.
18
             2.    Defendant PARADIS Begins Ghostwriting the Court-Appointed
19                 Independent Monitor’s Reports to the Court
20
             33.   In or around December 2015, the Los Angeles Superior Court
21
     judge overseeing the Jones v. City lawsuit appointed an independent
22
     monitor (“Independent Monitor”) to oversee and report to the court on
23
     LADWP’s performance under the Jones v. City settlement agreement,
24
     which required LADWP to remediate its billing system and meet various
25
     benchmarks over a specific period of time, among other obligations.
26
             34.   During the course of Independent Monitor’s work as the
27
     entity appointed by the court to deliver objective and unbiased
28
     reports, defendant PARADIS and Independent Monitor formed a personal
                                       8
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 1   relationship.     Over the course of that relationship and during the

 2   Independent Monitorship, defendant PARADIS treated Independent

 3   Monitor to sporting events, as well as meals and drinks, on multiple

 4   occasions.

 5           35.   As part of Independent Monitor’s duties, the court required

 6   him to file periodic reports with the court describing, among other

 7   things, LADWP’s progress in meeting its remediation obligations and

 8   the benchmarks contained in the Jones v. City settlement agreement.

 9   With the knowledge and approval of multiple LADWP officials and

10   employees and others, defendant PARADIS drafted the substance of

11   nearly all of Independent Monitor’s reports to the court.

12   Independent Monitor never disclosed to the court that he relied on

13   defendant PARADIS for nearly all of his reports.          Ghostwriting

14   Independent Monitor’s reports allowed defendant PARADIS to position

15   himself for a lucrative contract in connection with the remediation

16   work.

17           3.    Defendant PARADIS Forms a Personal Relationship with LADWP
                   General Manager, and They Begin Planning for a Future LADWP
18                 Contract
19           36.   Through his involvement in the City v. PwC case and
20   providing project management services for LADWP’s billing system,
21   defendant PARADIS formed a close working and personal relationship
22   with LADWP General Manager.      Defendant PARADIS and LADWP General
23   Manager traveled together for both work and personal purposes,
24   attended concerts and other events together, and dined together at
25   expensive restaurants.     Defendant PARADIS regularly paid for LADWP
26   General Manager at these outings.
27           37.   During PLG’s project management services contract,
28   defendant PARADIS and LADWP General Manager discussed ways for
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 1   defendant PARADIS to perform additional work for LADWP.           In or around

 2   early 2017, defendant PARADIS advised LADWP General Manager that, as

 3   a law firm, PLG could not provide future remediation services for

 4   LADWP based on state bar rules prohibiting defendant PLG from

 5   providing non-legal services.       They discussed having defendant

 6   PARADIS form a new company to provide future remediation and other

 7   services to LADWP, under a new contract with LADWP.

 8               (a)   Defendant PARADIS Agrees To Give LADWP General Manager
                       a Future Job, Million-Dollar Salary, and Company Car
 9                     in Exchange for LADWP General Manager’s Help Securing
                       Lucrative Contract
10
          38.    On or about February 10, 2017, defendant PARADIS met
11
     privately with LADWP General Manager at a hotel in Riverside,
12
     California.   During this meeting, defendant PARADIS and LADWP General
13
     Manager discussed the fact that defendant PARADIS was forming a new
14
     company, Aventador Utility Solutions, LLC (“Aventador”) to secure a
15
     lucrative no-bid contract with LADWP that would include, among other
16
     work, continued remediation services as well as cyber-related
17
     services.   Defendant PARADIS and LADWP General Manager discussed ways
18
     that LADWP General Manager could benefit financially from Aventador.
19
     Specifically, defendant PARADIS and LADWP General Manager agreed that
20
     LADWP General Manager would work to ensure that the LADWP Board
21
     awarded a contract to Aventador.       In exchange, they agreed that LADWP
22
     General Manager would receive, among other benefits: (1) to be the
23
     Chief Executive Officer (“CEO”) of Aventador upon LADWP General
24
     Manager’s retirement from LADWP; (2) an approximately $1,000,000
25
     annual salary upon joining Aventador; and (3) a new Mercedes SL 550
26
     as LADWP General Manager’s company car.
27

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 1        39.     On or about March 28, 2017, defendant PARADIS registered

 2   Aventador with the California Secretary of State.

 3                (b)   Defendant PARADIS Writes a Self-Serving Independent
                        Monitor Report Padded with Crucial Support for the
 4                      Aventador Contract

 5        40.     In or around early May of 2017, defendant PARADIS drafted

 6   the next periodic court report for Independent Monitor, which LADWP

 7   General Manager reviewed before defendant PARADIS provided it to

 8   Independent Monitor.     As discussed and agreed with LADWP General

 9   Manager, defendant PARADIS’s primary goal in drafting this report was

10   to provide LADWP General Manager with support for his campaign to

11   persuade the LADWP Board to award the $30,000,000 no-bid contract to

12   Aventador.

13        41.     On or about May 5, 2017, Independent Monitor’s report was

14   filed with the court in the Jones v. City case.          Section IV of the

15   report, which defendant PARADIS drafted specifically to include

16   talking points for LADWP General Manager to use to convince the LADWP

17   Board to approve the Aventador contract, stated, among other things,

18   that LADWP was grossly understaffed in the Information Technology

19   (“IT”) area and needed to procure these services through an outside

20   vendor.

21                (c)   LADWP General Manager and Defendant PARADIS Work to
                        Secure the LADWP Board’s Support for a $30,000,000 No-
22                      Bid Contract to Aventador

23        42.     In or around May 2017 and early June 2017, defendant

24   PARADIS and LADWP General Manager worked together to position

25   Aventador to secure a $30,000,000 no-bid contract with LADWP.            These

26   efforts included lobbying individual LADWP Board members and other

27   LADWP employees and officials to solicit their support for the

28   Aventador contract, editing drafts of a letter that was ultimately

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 1   sent to the LADWP Board summarizing the purpose and terms of the

 2   proposed Aventador contract and explaining why alternatives to

 3   awarding the contract on a no-bid basis were unsatisfactory (the

 4   “Board Letter”), and omitting defendant PARADIS’s affiliation with

 5   Aventador from LADWP General Manager’s oral and written presentation

 6   urging the LADWP Board to vote in favor of the Aventador contract.

 7        4.    Relying on LADWP General Manager’s Presentation and the
                Independent Monitor Report Ghostwritten By Defendant
 8              PARADIS, the LADWP Board Votes to Award a $30,000,000 No-
                Bid Contract to Aventador
 9

10        43.   On June 6, 2017, the LADWP Board met and considered the

11   Aventador contract.

12        44.   In a presentation to the LADWP Board immediately before the

13   vote, LADWP General Manager cited the verbiage of the May 5, 2017

14   Independent Monitor report secretly written by defendant PARADIS,

15   told the LADWP Board that LADWP could not meet its obligations under

16   the Jones v. City settlement agreement unless it contracted with

17   Aventador, and conveyed a sense of urgency to approve the Aventador

18   contract quickly.     LADWP General Manager never disclosed to the LADWP

19   Board that he had agreed to accept from defendant PARADIS the title

20   of Aventador’s CEO, an annual salary of approximately $1,000,000, and

21   a luxury company Mercedes in exchange for his support of the

22   Aventador contract.

23        45.   Following LADWP General Manager’s presentation, the LADWP

24   Board voted unanimously to award Aventador a three-year, $30,000,000

25   no-bid contract.

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 1        5.    To Obtain Support For the Aventador Contract, Defendant
                PARADIS Provides, With LADWP General Manager’s
 2              Encouragement, Unpaid Legal Services to LADWP Board Member
 3        46.   Beginning approximately a week before the LADWP Board’s
 4   vote on the Aventador contract, a member of the LADWP Board (“LADWP
 5   Board Member”) solicited legal services from defendant PARADIS on an
 6   unrelated litigation matter.       Defendant PARADIS understood that if he
 7   agreed to provide the requested legal services, LADWP Board Member
 8   would vote in favor of the contract.        Defendant PARADIS discussed
 9   LADWP Board Member’s repeated requests with LADWP General Manager,
10   who replied by advising defendant PARADIS that LADWP Board Member had
11   been reappointed for four more years, which defendant PARADIS
12   understood to mean that he should provide the requested legal
13   services solicited by LADWP Board Member in order to obtain LADWP
14   Board Member’s support on the Aventador contract.          Accordingly,
15   defendant PARADIS performed, and directed Paradis Law Partner to
16   perform, the requested legal work, which included conducting legal
17   research; reviewing and revising legal briefing and filings; and
18   participating in meetings, calls, and discussions with LADWP Board
19   Member and his/her litigation team concerning legal strategy and
20   tactics.   Defendant PARADIS did so in order to influence LADWP Board
21   Member’s vote for the Aventador contract and in order to continue to
22   influence LADWP Board Member for purposes of future Board votes.              In
23   total, between in or around late May 2017 and in or around early
24   August 2017, defendant PARADIS and Paradis Law Partner performed
25   approximately thirty hours of legal services for LADWP Board Member.
26   Defendant PARADIS did not seek payment for these services from LADWP
27   Board Member, nor did LADWP Board Member offer payment.
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 1        6.    Defendant PARADIS and LADWP General Manager Continue to
                Secretly Work Together to Build Aventador for Their Mutual
 2              Personal Benefit
 3        47.   During the remainder of 2017, throughout 2018, and into
 4   early 2019, defendant PARADIS and LADWP General Manager continued to
 5   collaborate to build and market Aventador and to seek additional
 6   lucrative business opportunities for Aventador both inside and
 7   outside LADWP.
 8        48.   On multiple occasions in late 2018 and early 2019, via text
 9   message, LADWP General Manager conveyed to defendant PARADIS that he
10   was ready to leave LADWP, and they discussed how LADWP General
11   Manager would use his remaining tenure at LADWP to obtain an
12   extension of Aventador’s contract and otherwise enhance Aventador’s
13   future financial prospects.
14        7.    Defendant PARADIS and LADWP General Manager Expand Their
15              Corrupt Aventador Plans

16        49.   In May of 2018, LADWP General Manager and other LADWP

17   officials and employees, along with defendant PARADIS, joined a

18   delegation on a visit to Israel.       During the trip, defendant PARADIS

19   and LADWP General Manager met with officials from a global company

20   that provided cybersecurity training to governmental and business

21   organizations (“Cyber Company”).       Cyber Company had franchises in the

22   United States and abroad, and defendant PARADIS and LADWP General

23   Manager decided to invest in bringing a Cyber Company facility to Los

24   Angeles.   Defendant PARADIS and LADWP General Manager agreed that

25   defendant PARADIS would put up $5,000,000 in capital and would have a

26   controlling interest, and that LADWP General Manager would have an

27   ownership interest.     LADWP General Manager told defendant PARADIS

28   that LADWP would purchase five years of cybersecurity training at the

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 1   franchise facility, at a cost of $3,000,000 per year.           LADWP General

 2   Manager did not have the formal authority to make this commitment on

 3   behalf of LADWP without action by the LADWP Board.           Defendant PARADIS

 4   and LADWP General Manager agreed that LADWP General Manager would use

 5   his position and influence at LADWP to convince the LADWP Board to

 6   support and vote in favor of this expenditure, which both defendant

 7   PARADIS and LADWP General Manager knew and intended would secretly

 8   benefit them both financially.

 9        50.   In January 2019, pursuant to his agreement with LADWP

10   General Manager, defendant PARADIS entered into a joint venture

11   agreement with Cyber Company wherein defendant PARADIS agreed to pay

12   $5,000,000 to open a Cyber Company facility in Los Angeles that would

13   provide training to LADWP employees.

14        51.   These Introductory Allegations are incorporated into the

15   sole count of this Information.

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 1                                      COUNT ONE

 2                            [18 U.S.C. § 666(a)(1)(B)]

 3        52.   Between on or about February 25, 2015, and on or about

 4   November 10, 2017, defendant PAUL O. PARADIS, an agent of the City

 5   Attorney’s Office and the City of Los Angeles, corruptly solicited

 6   and demanded for the benefit of himself and others, and accepted and

 7   agreed to accept, something of value from a person, intending to be

 8   influenced and rewarded in connection with a business, transaction,

 9   and series of transactions of the City Attorney’s Office having a

10   value of $5,000 or more.      Specifically, defendant PARADIS solicited,

11   demanded, accepted, and agreed to accept a kickback of approximately

12   $2,175,000, intending to be influenced and rewarded in return for

13   defendant PARADIS’s arrangement for Ohio Attorney to putatively

14   represent Antwon Jones and a class of LADWP ratepayers in a lawsuit

15   against the City, which would be resolved in a rapid settlement that

16   would net Ohio Attorney and his law firm approximately $10,300,000 in

17   attorneys’ fees despite Ohio Attorney and his law firm doing little

18   legal work.

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 1                               FORFEITURE ALLEGATION

 2              [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        53.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offense set forth in Count One of this Information.

 9        54.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   All right, title and interest in any and all property,

12   real or personal, constituting, or derived from, any proceeds

13   traceable to such offense; and

14              (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        55.   Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), the

19   defendant shall forfeit substitute property, up to the total value of

20   the property described in the preceding paragraph if, as the result

21   of any act or omission of the defendant, the property described in

22   the preceding paragraph, or any portion thereof: (a) cannot be

23   located upon the exercise of due diligence; (b) has been transferred,

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 1   sold to or deposited with a third party; (c) has been placed beyond

 2   the jurisdiction of the court; (d) has been substantially diminished

 3   in value; or (e) has been commingled with other property that cannot

 4   be divided without difficulty.

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